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013683-0002

Attorneys for Noah Hillen, Personal Representative
of the Estate of Victoria H. Smith


                         UNITED STATES BANKRUPTCY COURT

                                    DISTRICT OF IDAHO


In Re:                                               Case No. 18-01171-JDP
                                                     Chapter 11
VERNON KENNETH SMITH, JR.,

                      Debtor.


                    HILLEN’S LIST OF EXHIBITS AND WITNESSES
                        FOR FEBRUARY 27, 2019, HEARING

              COMES NOW Noah Hillen, personal representative (“Hillen” or “PR”) of the

Estate (“Probate Estate”) of Victoria H. Smith (“Decedent”), by and through his attorneys of

record, Givens Pursley LLP, and identifies its exhibits and witnesses as to the following matter

that is pending for hearing (“Hearing”) on February 27, 2019, at 1:30 p.m. at the U.S. Bankruptcy

Court, 550 W. Fort Street, Boise, Idaho, before the Honorable Jim D. Pappas:

              (a)     Motion Appoint Trustee Under 11 U.S.C. Section 1104(A)(1) and (2)
                      (CR 75).




HILLEN’S LIST OF EXHIBITS AND WITNESSES FOR FEBRUARY 27, 2019, HEARING - 1               14545636.1
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                                           WITNESSES

               Hillen intends to call or may call the following witness:

               (a)     Vernon Kenneth Smith, Jr. (“Debtor”);

               (b)     Noah G. Hillen in his capacity as the PR for the Probate Estate of the
                       Decedent;

               (c)     Gregory Byron;

               (d)     Any witnesses that may be called by the Debtor; and

               (e)     Any witnesses that may be called by any other party at the Hearing.

               Hillen reserves the right to cross-examine any witnesses called by the opposing

parties at the hearing and further reserves the right to call any rebuttal witnesses not identified in

this document. Hillen reserves the right to supplement its witness disclosures as necessary.

                                             EXHIBITS

               Hillen intends to introduce those exhibits identified on Exhibit A, attached hereto.

Hillen reserves the right to introduce other documents in cross-examination of witnesses in this

matter, or in rebuttal and reserves the right to introduce other previously identified exhibits. Hillen

also reserves the right to use as an exhibit any documents that have been filed with this Court,

pursuant to the Court’s ability to take judicial notice of any such documents.

               DATED this 20th day of February, 2019.

                                                       GIVENS PURSLEY LLP



                                                       By /s/ Randall A. Peterman
                                                         Randall A. Peterman – Of the Firm
                                                         Alexander P. McLaughlin – Of the Firm
                                                         Attorneys for Noah Hillen, Personal
                                                         Representative of the Estate of Victoria
                                                         H. Smith



HILLEN’S LIST OF EXHIBITS AND WITNESSES FOR FEBRUARY 27, 2019, HEARING - 2                     14545636.1
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                                 CERTIFICATE OF SERVICE

                I HEREBY CERTIFY that on the 20th day of February, 2019, I filed the foregoing
HILLEN’S LIST OF EXHIBITS AND WITNESSES FOR FEBRUARY 27, 2019,
HEARING electronically through the CM/ECF system, which caused the following parties or
counsel to be served by electronic means, as more fully reflected on the Notice of Electronic Filing:

D. Blair Clark                                       United States Trustee
dbc@dbclarklaw.com                                   ustp.region18.bs.ecf@usdoj.gov
mbc@dbclarklaw.com
maryann@dbclarklaw.com
jeffrey@dbclarklaw.com
reception@dbclarklaw.com
jackie@dbclarklaw.com
ecf.dbclaw@gmail.com


Noah G. Hillen                                       David W. Newman
ngh@hillenlaw.com                                    ustp.region18.bs.ecf@usdoj.gov
dlr@hillenlaw.com
llm@hillenlaw.com
sellassets@ecf.inforuptcy.com
ID14@ecfcbis.com

Kimbell D. Gourley                                   Allen B. Ellis
kgourley@idalaw.com                                  aellis@aellislaw.com
pulmer@idalaw.com
kserrano@idalaw.com
mingham@idalaw.com

              AND, I FURTHER CERTIFY that on such date I served the foregoing HILLEN’S
LIST OF EXHIBITS AND WITNESSES FOR FEBRUARY 27, 2019, HEARING on the
following non-CM/ECF Registered Participants in the manner indicated:

Vernon Kenneth Smith, Jr.                             (X) U.S. Mail, Postage Prepaid
1900 W. Main Street                                   ( ) Hand Delivered
Boise, ID 83702                                       ( ) Overnight Mail
                                                      ( ) Facsimile

Rory Jones                                            (X) U.S. Mail, Postage Prepaid
Erika Judd                                            ( ) Hand Delivered
JONES, GLEDHILL, FURMAN P.A.                          ( ) Overnight Mail
225 North 9th Street, #820                            ( ) Facsimile
Boise, ID 83702




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Victoria Anne Converse                           (X) U.S. Mail, Postage Prepaid
10548 NW Skyline Blvd.                           ( ) Hand Delivered
Portland OR 97231                                ( ) Overnight Mail
                                                 ( ) Facsimile

Victoria L. Smith                                (X) U.S. Mail, Postage Prepaid
1900 W. Main Street                              ( ) Hand Delivered
Boise, ID 83702                                  ( ) Overnight Mail
                                                 ( ) Facsimile


Tom Walker                                       (X) U.S. Mail, Postage Prepaid
Generations Law Group                            ( ) Hand Delivered
412 E Parkcenter Blvd., Ste. 210                 ( ) Overnight Mail
Boise, ID 83706
                                                 ( ) Facsimile




                                                   /s/ Randall A. Peterman
                                                 Randall A. Peterman




HILLEN’S LIST OF EXHIBITS AND WITNESSES FOR FEBRUARY 27, 2019, HEARING - 4          14545636.1
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                                           BANKRUPTCY COURT
                                               Exhibit List

                                                   By:     Noah G. Hillen, Personal Representative
                                 SUBMITTED
 CASE NAME: In re Vernon K. Smith, Jr.                        COURT DATE:                              CASE NUMBER:
                                                              February 27,2019                         l8-01171-JDP

 Debtor: Vernon Kenneth Smith,   Jr.                          Creditor/Trustee: Noah G. Hillen

 Debtor's Counsel: D. Blair Clark                             Counsel: Randall A. Peterman

 Exhibit Nos.                                                 Exhibit Nos. 200-238

 pRESIDING JUDGE .Jim D.      Pappas                          Matter before the Court:                CR 75


          EXHIBITS                                                              DESCRIPTION
 NOS.      Date                ADMITTEI)

200       09-06-2018                         CR 1 - Chapter l1 Petition

20r        09-20-20t8                        CR 29 - Schedules and Statements of Affarrs

202        t0-22-20r8                        CR 41 - September 2018 Monthly Operating Report

203        1   1-13-2018                     CR 55 - October 2018 Monthly Operating Report

204        12-20-20r8                        CR 66 - November 2018 Monthly Operating Report

205        02-12-2019                        CR 79 - December 2018 Monthly Operating Report

206        0l-08-2019                        Proof of Claim No. 6

207        02-t4-2019                        Claims Register

208        ot-23-2019                        Complaint (Hillen v. Smith, 19-06005-JDP)

209        10-12-2018                        Excerpts of Transcript of Vernon K. Smith, Jr. Meeting of Creditors

2t0        I I -02-201 8                     Excerpts of Transcript of Vernon K. Smith, Jr. Continued Meeting of Creditors (w/o exhibiß)


2tr        05-04-2017                        Excerpts of Deposition of Vernon K. Smith, Jr. (Probate Action)

212        05-t0-2017                        Amended Findings of Fact and Conclusions of Law (Probate Action)

 213       03-09-2017                        Order Appointing Special Administrator (Probate Action)

 214       05-12-20t7                        Decision re Multiple Motions (Probate Action)

 215       06-02-2017                        Judgment on Rule 70(b) Motion (Probate Action)

 216       05-02-2018                        Order Approving PR's Attorney Fees and Compensation (Probate)



                                                                                          EXHIBIT A



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                                         BANKRUPTCY COURT
                                             Exhibit List

                                SUBMITTED        By: Noah G. Hillen, Personal             Representative

 CASE NAME: In re Vernon K. Smith, Jr.                     COURT DATE:                            CASE NUMBER:
                                                           February 27,2019                       l8-01l7l-JDP

 Debtor: Vernon Kenneth Smith, Jr                          Creditor/Trustee: Noah G. Hillen

 Debtor's Counsel: D. Blair Clark                          Counsel: Randall A. Peterman

 Exhibit Nos.                                              Exhibit Nos. 200-238

 pRESIDING JUDGE . Jim D. Pappas                           Matter before the Court:              CR 75

           EXHIBITS                                                         DESCRIPTION
 NOS        D¡te               ADMITTEI)
 217       05-r5-2017                      Petition Against Vernon K. Smith, Jr. and Associated Individuals

 2t8       12-l 8-201 8                    Substitute Opinion (Smith v. Smith,ISC Docket 45313)

 2t9       06-t2-20r8                      Opinion (Bergmann v. Smith,ISC Docket 44970/45069)

 220       tl-03-20t6                      Opinion (Smith v. TV Seed,ISC Docket 42596)

 221       0t-29-2019                      Opinion (Smith v. TV Seed,ISC Docket 45543)

 222       vanous                          Law Office of Vernon K. Smith, LLC Entity Formation Documents

 223       09-t9-2013                      Death Certificate - Victoria Smith

 224       12-02-201s                      First Amended Complaint (DEQ v. Gibson)

 225       02-t0-201,6                     Answer to First Amended Complaint (DEQ v. Gibson)

 226       0s-0s-2017                      Stipulation for Settlement and Dismissal (DEQ v. Gibson)

 227       06-21-2018                      Amended Judgment (DEQ v. Gibson)

 228       08-27-20t8                      Second AmendedNotice of Appeal (DEQ v. Gibson)

 229       07-19-2016                      Order Granting Motion for Partial Summary Judgment (Probate)

 230       02-07-2017                      Motion to Require PR to Obtain Appraisals of Estate Property (Probate)

 231       02-07-2017                      Declaration re Motion to Require PR to Obtain Appraisals of Estate Property (Probate)


 232       04-13-2017                      Declaration of Randall A. Peterman (Probate Action)

 233       03-30-2017                      Motion Under Rule 70(b) (Probate Action)




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                                           BANKRUPTCY COURT
                                               Exhibit List

                                 SUBMITTED        By: Noah G. Hillen, Personal            Representative

 CASE NAME: In re Vernon K. Smith, Jr.                      COURT DATE:                            CASE NUMBER:
                                                            February 27,2019                       l8-01171-JDP

 Debtor: Vernon Kenneth Smith,   Jr.                        Creditor/Trustee: Noah G. Hillen

 Debtor's Counsel: D. Blair Clark                           Counsel: Randall A. Peterman

 Exhibit Nos.                                               Exhibit Nos. 200-238

 pRBSIDING JUDGE . Jim D.     Pappas                        Matter before the Court:              CR 75

          EXHIBITS                                                           DESCRIPTION
 NOS.      D¡te                ÀDMITTEI'
234        o2-r4-2019                       Renewed Motion to File Estate Tax Return (Probate Action)

 235       02-t4-2019                       Declaration of R. Peterman re Renewed Motion to File Estate Tax Return (Probate Action)


236        ll-01-2017                       Email from R. Jones to R. Peterman regarding Chinden Lease

237        02-19-2019                       DK 083 - January 2019 Monthly Operating Report
 238       02-19-2019                       DK 080 - Amended Schedule E/F




Updated June I   l,   2013
